                                                                                     Client Ledger                                                     6/17/2020
                                                                                       Atlas Law
             Case 2:19-cv-14394-RLR Document 48-1 Entered on FLSD Docket 07/16/2020 Page 1 of 5
                                                                   Monday, July 1, 2019 To Wednesday, June 17, 2020
Client
File           Description                                                                                                                                 Resp
Date           Info                                                    Ref      Inv      Fees        Exps     Op Rcpts    Acc   Tr Rcpts   Tr Disbs   Tr Balance
Entry          Explanation
12615          Park Place
12615-002      Park Place v. Friedel                                                                                                                         BC
11/25/2019     FEE: BC 0.80 Hrs @ 200.00 (Wrk: 0.00)                            1560   160.00
392189         Review of new complaint for FHA violations; attention to prior
               rulings from trial court; e-mail co-counsel re: same.
11/26/2019     FEE: RV 0.90 Hrs @ 200.00                                        1560   180.00
369047         Analysis of Federal Fair Housing statutes, regulations, and case
               law to determine validity of tenant's new claim of discrimination.
12/6/2019      FEE: BC 1.40 Hrs @ 200.00                                        3289   280.00
404871         Draft Notice of Appearance and Motion for Enlargement of Time re:
               response to Complaint; review and analysis of complaint and
               named defendants; attention to potential affirmative defenses
12/23/2019     FEE: BC 0.80 Hrs @ 200.00                                        3289   160.00
404872         Attention to Case Scheduling Order and calendar of matters;
               consideration of mediator; attention to stipulated enlargement of
               time re: case management meeting and order.
12/26/2019     INV: Billing on Invoice 1560                                     1560
399024         Park Place:
               Fees: 340.00
1/7/2020       FEE: BC 1.40 Hrs @ 200.00                                        4064   280.00
410090         Research and analysis of Florida and Federal case law re: breach
               of covenant of good faith and fair dealing in preparation for motion
               to dismiss; draft, review and revise motion to dismiss with regard to
               Count IV of Plaintiff's Complaint
1/7/2020       FEE: BC 1.60 Hrs @ 200.00                                        4064   320.00
410091         Research and analysis of Federal case law re: intimidation claim
               pursuant to Fair Housing Act; draft, review and revise motion to
               dismiss with regard to Count III of Plaintiff's Complaint
1/7/2020       FEE: BC 1.20 Hrs @ 200.00                                        4064   240.00
410092         Research and analysis of Federal case law re: motion to dismiss
               for failure to include an indispensable party; attention to potential
               motion to dismiss re: same; correspondence with co-counsel.
1/10/2020      IN: Sun Communities, Inc.                              00454     1560                             340.00    o9
               On behalf of Park Place
402737                                                                                                                    OUT
1/10/2020      FEE: BC 2.90 Hrs @ 200.00                                     4064      580.00
410098         Review and analysis of case law re: failure to include an
               indispensable party; draft, review and revise Motion to Dismiss re:
               same and finalize for filing.
1/16/2020      INV: Billing on Invoice 3289                                  3289
407021         Park Place:
               Fees: 440.00
2/5/2020       FEE: BC 1.40 Hrs @ 200.00                                     5493      280.00
415244         Attention to Response to Motion to Dismiss; consideration of reply
               and arguments re: same; draft, review and revise Motion for
               Extension of Time to Reply to Response to MTD
2/6/2020       IN: Sun Communities, Inc.                            00540    3289                                440.00    o9
               On behalf of Park Place
409541                                                                                                                    OUT
2/10/2020      FEE: BC 3.60 Hrs @ 200.00                                        5493   720.00
415249         Draft, review and revise Reply to Plaintiff's Response to
               Defendant's Motion to Dismiss; analyze case law re: same.
2/12/2020      FEE: BC 0.80 Hrs @ 200.00                                        5493   160.00
415256         Amend Reply to Response to Defendant's Motion to Dismiss;
               attention to finalization and filing of same.
2/17/2020      INV: Billing on Invoice 4064                                     4064
413040         Park Place:
               Fees: 1,420.00
2/18/2020      FEE: BC 0.60 Hrs @ 200.00                                        5493   120.00
415264         Conference call with client re: discovery requests; attention to
               same.
3/4/2020       FEE: BC 0.30 Hrs @ 200.00                                        6594    60.00
423067         Call with opposing counsel re: service; attention to status report
               and amended complaint potentially adverse to Park Place
3/6/2020       FEE: BC 0.70 Hrs @ 200.00                                        6594   140.00
423071         Attention to responses to Interrogatory Request to Sun
               Communities
3/6/2020       FEE: BC 0.60 Hrs @ 200.00                                        6594   120.00
423072         Attention to responses to Request for Production to Sun
               Communities
3/18/2020      INV: Billing on Invoice 5493                                     5493
418462         Park Place:
               Fees: 1,280.00
3/23/2020      IN: Sun Communities, Inc.                             00160      4064                           1,420.00    o9
               On behalf of Park Place
419929                                                                                                                    OUT
3/27/2020      FEE: RV 0.80 Hrs @ 200.00 (Wrk: 0.00)                         6594      160.00
420009         Drafted Motion for Extension to Respond to Second Amended
               Complaint and extension for expert witness disclosures.
3/27/2020      FEE: BC 1.10 Hrs @ 200.00                                     6594      220.00
423106         Conference with opposing counsel re: extension of deadlines for
               discovery, response to complaint, and expert disclosures; draft,
               review and revise Motion for Enlargement of Time re: same.
3/30/2020      IN: Sun Communities, Inc.                          00175      5493                              1,280.00    o9
               On behalf of Park Place
420014                                                                                                                    OUT



                                                                                                                                                          Page 1
                                                                                     Client Ledger                                                    6/17/2020
                                                                                       Atlas Law
            Case 2:19-cv-14394-RLR Document 48-1 Entered on FLSD Docket 07/16/2020 Page 2 of 5
                                                                   Monday, July 1, 2019 To Wednesday, June 17, 2020
Client
File          Description                                                                                                                                 Resp
Date          Info                                                     Ref       Inv      Fees       Exps     Op Rcpts   Acc   Tr Rcpts   Tr Disbs   Tr Balance
Entry         Explanation
3/31/2020     FEE: RV 0.60 Hrs @ 200.00 (Wrk: 0.00)                               6594   120.00
420029        Drafted Introduction section of Motion to Dismiss Friedel's Second
              Amended Complaint.
3/31/2020     FEE: RV 0.90 Hrs @ 200.00 (Wrk: 0.00)                               6594   180.00
420032        Analysis Federal Fair Housing Act law on statute of limitations
              defense with attention to drafting Motion to Dismiss Friedel's
              Second Amended Complaint.
3/31/2020     FEE: RV 0.40 Hrs @ 200.00 (Wrk: 1.10)                               6594   220.00
420033        Analysis of Federal Fair Housing law on elements of a retaliation
              claim with attention to drafting Motion to Dismiss Friedel's Second
              Amended Complaint.
3/31/2020     FEE: RV 0.30 Hrs @ 200.00 (Wrk: 0.70)                               6594    60.00
420034        Analysis of Florida law on elements of Tortious Interference claims
              with attention to drafting Motion to Dismiss Friedel's Second
              Amended Complaint.
3/31/2020     FEE: RV 4.10 Hrs @ 200.00 (Wrk: 5.20)                               6594   820.00
420035        Drafted Discussion Sections of I - V (10 pages) of Motion to
              Dismiss Friedel's Second Amended Complaint.
3/31/2020     FEE: RV 0.70 Hrs @ 200.00 (Wrk: 0.00)                               6594   140.00
423126        Analysis of Florida and Federal law on res judicata and collateral
              estoppel defenses with attention to drafting Motion to Dismiss
              Friedel's Second Amended Complaint.
4/1/2020      FEE: BC 1.30 Hrs @ 200.00                                           7499   260.00
424754        Review and revision of Motion to Dismiss; attention to potential
              basis for Motion to Dismiss.
4/2/2020      FEE: RV 0.80 Hrs @ 200.00                                           7499   160.00
424493        Analysis of Federal law regarding allowance of successive motions
              to dismiss with attention to drafting motion to dismiss second
              amended complaint.
4/2/2020      FEE: RV 0.70 Hrs @ 200.00                                           7499   140.00
424494        Analysis of federal procedural law to determine if statute of
              limitations defense is waived if not raised on a motion to dismiss.
4/2/2020      FEE: BC 0.60 Hrs @ 200.00                                           7499   120.00
424755        Draft, review and revise First Amended Motion for Enlargement of
              Time
4/2/2020      FEE: BC 3.10 Hrs @ 200.00                                           7499   620.00
424756        Attention to drafting, review and revision of Motion to Dismiss and
              Motion for More Definite Statement, and research and analysis of
              case law re: same
4/3/2020      FEE: BC 0.50 Hrs @ 200.00                                           7499   100.00
424759        Final modification of Motion to Dismiss and attention to filing of
              same.
4/20/2020     FEE: RV 0.90 Hrs @ 200.00 (Wrk: 0.00)                               7499   180.00
421736        Analysis of Friedel's Response to Motion to Dismiss Second
              Amended Complaint and case law cited therein to prepare Sun's
              reply.
4/20/2020     FEE: BC 0.40 Hrs @ 200.00                                           7499    80.00
424784        Review of Response to MTD; attention to potential reply
4/20/2020     FEE: BC 0.40 Hrs @ 200.00                                           7499    80.00
424785        Attention to upcoming discovery deadline; review of discovery
              requested and potential responses to same; communication with
              client re: responses and deadlines.
4/21/2020     FEE: RV 0.80 Hrs @ 200.00                                           7499   160.00
424121        Initial screening interview with potential dog training rebuttal expert
              witness, Jim Crosby, regarding qualifications, case background and
              expert's initial impression of the case.
4/21/2020     FEE: RV 0.90 Hrs @ 200.00                                           7499   180.00
424495        Research to identify Florida dog training expert witnesses qualified,
              competent, and fit to testify in support of Sun's defense.
4/21/2020     FEE: BC 1.70 Hrs @ 200.00                                           7499   340.00
424789        Conference call re: discovery responses (Rogs and RTP); attention
              to objections to discovery and methods for proceeding with
              objections to expert witnesses.
4/22/2020     INV: Billing on Invoice 6594                                        6594
423168        Park Place:
              Fees: 2,240.00
4/22/2020     FEE: RV 2.10 Hrs @ 200.00                                           7499   420.00
424497        Drafted first draft of Section II (Retaliation Claim) of the reply to
              Friedel's response to motion to dismiss.
4/22/2020     FEE: RV 2.40 Hrs @ 200.00                                           7499   480.00
424498        Drafted first draft of Section III (Good Faith/Tortious Interference) of
              the reply to Friedel's response to motion to dismiss.
4/22/2020     FEE: RV 2.80 Hrs @ 200.00                                           7499   560.00
424499        Drafted first draft of Section I (Piecing the Corporate Veil) of the
              reply to Friedel's response to motion to dismiss.
4/22/2020     FEE: RV 1.70 Hrs @ 200.00                                           7499   340.00
424500        Drafted first draft of introduction section to reply to Friedel's
              response to motion to dismiss.
4/22/2020     FEE: BC 0.80 Hrs @ 200.00                                           7499   160.00
424791        Conference call with potential expert witness re: testimony and
              case status
4/23/2020     FEE: BC 1.90 Hrs @ 200.00                                           7499   380.00
424797        Attention to discovery requests from opposing counsel and
              conference call re: same; attention to deposition requests from
              opposing counsel and consideration of depositions necessary and
              discovery necessary for trial preparation; review and revise Reply
              to Response to MTD


                                                                                                                                                         Page 2
                                                                                    Client Ledger                                                    6/17/2020
                                                                                      Atlas Law
            Case 2:19-cv-14394-RLR Document 48-1 Entered on FLSD Docket 07/16/2020 Page 3 of 5
                                                                  Monday, July 1, 2019 To Wednesday, June 17, 2020
Client
File          Description                                                                                                                                Resp
Date          Info                                                     Ref      Inv      Fees       Exps     Op Rcpts   Acc   Tr Rcpts   Tr Disbs   Tr Balance
Entry         Explanation
4/24/2020     FEE: BC 0.50 Hrs @ 200.00                                          7499   100.00
424798        Finalize Reply to Response to MTD and attention to filing of same.
4/27/2020     FEE: RV 2.70 Hrs @ 200.00                                          7499   540.00
424501        Drafted first draft of Defendant's First Request for Production of
              Documents.
4/27/2020     FEE: RV 3.80 Hrs @ 200.00                                          7499   760.00
424502        Drafted first draft of Defendant's Interoggatories to Plaintiffs.
4/27/2020     FEE: RV 0.50 Hrs @ 200.00                                          7499   100.00
424504        Drafted first draft of Notice of Intent to Serve Subpoenas for service
              upon opposing attorneys.
4/27/2020     FEE: RV 0.90 Hrs @ 200.00                                          7499   180.00
424512        Completed case information questionnaire and prepared request
              for canine expert witness to Forensis Group Expert Witness
              Service Provider.
4/27/2020     FEE: RV 1.40 Hrs @ 200.00                                          7499   280.00
424513        Analysis of medical records, responsive discovery documents and
              Friedel I trial transcript with attention to determining 3rd parties to
              subpoena for documents.
4/27/2020     FEE: BC 0.40 Hrs @ 200.00                                          7499    80.00
424801        Attention to various discovery issues including written discovery
              necessary and scheduling of depositions.
4/28/2020     FEE: RV 0.40 Hrs @ 200.00                                          7499    80.00
424505        Drafted proposed Subpoena request for documents for service on
              Barbara Lawson.
4/28/2020     FEE: RV 0.40 Hrs @ 200.00                                          7499    80.00
424506        Drafted proposed Subpoena request for documents for service on
              Carol Maloney.
4/28/2020     FEE: RV 0.40 Hrs @ 200.00                                          7499    80.00
424507        Drafted proposed Subpoena request for documents for service on
              Best Behavior Dog Training.
4/28/2020     FEE: RV 0.40 Hrs @ 200.00                                          7499    80.00
424508        Drafted proposed Subpoena request for documents for service on
              Dr. Guillermo Morel.
4/28/2020     FEE: RV 0.40 Hrs @ 200.00                                          7499    80.00
424509        Drafted proposed Subpoena request for documents for service on
              Dr. Seth Baker.
4/28/2020     FEE: RV 0.40 Hrs @ 200.00                                          7499    80.00
424510        Drafted proposed Subpoena request for documents for service on
              IRHS Cardiovascular Center.
4/28/2020     FEE: RV 0.40 Hrs @ 200.00                                          7499    80.00
424511        Drafted proposed Subpoena request for documents for service on
              Walgreens Pharmacy.
5/4/2020      OUT: Canine Aggression Consulting, LLC                  10260                      2,500.00                o9
424277        Expert Witness Fee                                                                                        OUT
5/4/2020      EXP                                                                                    8.70
426581        Fedex/UPS
5/4/2020      FEE: BC 1.60 Hrs @ 200.00                                                 320.00
426668        Attention to amendment of agreed order re: discovery status;
              conference with opposing counsel re: same; attention to
              outstanding discovery, as well as discovery requests and
              depositions to be scheduled
5/6/2020      FEE: BC 2.10 Hrs @ 200.00                                                 420.00
426672        Draft, review and revise response to Request for Interrogatories
5/8/2020      FEE: BC 0.90 Hrs @ 200.00                                                 180.00
426673        Review and revise discovery requests to G. and K. Friedel.
5/11/2020     FEE: RV 0.80 Hrs @ 200.00 (Wrk: 1.70)                                     160.00
424476        Analysis of Federal Rules of Evidence and related case law on
              medical records and hearsay to determine whether Dr. Morel's
              records will be admissible and how those records need to be
              admitted.
5/11/2020     FEE: RV 3.80 Hrs @ 200.00                                                 760.00
424477        Drafted legal research memorandum analyzing applicable law and
              discussing admissibility of Dr. Morel's medical records and potential
              use of those records at trial.
5/11/2020     FEE: BC 3.20 Hrs @ 200.00                                                 640.00
426674        Attention to discovery dispute with opposing counsel; draft First
              Amended Response to RTP; attention to bates labelling of
              documents and circulation to opposing counsel; e-mail
              communication with opposing counsel re: same; attention to
              discovery status and documents to be produced.
5/12/2020     FEE: RV 1.80 Hrs @ 200.00                                                 360.00
424478        Analysis and research of Federal law regarding res judicata to be
              included in Summary Judgment Memorandum of Law.
5/12/2020     FEE: RV 1.40 Hrs @ 200.00                                                 280.00
424479        Analysis and research of Federal law regarding issue preclusion in
              discrimination cases to be included in Summary Judgment
              Memorandum of Law.
5/12/2020     FEE: RV 2.30 Hrs @ 200.00                                                 460.00
424480        Analysis and research of Federal law regarding the application of
              the statute of limitations in Fair Housing Act cases to be included in
              Summary Judgment Memorandum of Law.
5/12/2020     EXP                                                                                    8.70
426599        Fedex/UPS
5/13/2020     FEE: RV 0.40 Hrs @ 200.00                                                  80.00
424445        Drafted Motion for Summary Judgment (request for relief section).




                                                                                                                                                        Page 3
                                                                                    Client Ledger                                                     6/17/2020
                                                                                      Atlas Law
            Case 2:19-cv-14394-RLR Document 48-1 Entered on FLSD Docket 07/16/2020 Page 4 of 5
                                                                  Monday, July 1, 2019 To Wednesday, June 17, 2020
Client
File          Description                                                                                                                                 Resp
Date          Info                                                    Ref      Inv        Fees      Exps     Op Rcpts    Acc   Tr Rcpts   Tr Disbs   Tr Balance
Entry         Explanation
5/13/2020     FEE: RV 3.20 Hrs @ 200.00                                                 640.00
424481        Drafted Statement of Undisputed Material Facts in Support of
              Summary Judgment.
5/13/2020     FEE: RV 0.90 Hrs @ 200.00 (Wrk: 0.00)                                     180.00
424483        Analysis of Friedel 2 court filings, discovery documents, and file
              correspondence with attention to drafting Statement of Undisputed
              Facts in Support of Motion for Summary Judgment.
5/13/2020     FEE: RV 1.20 Hrs @ 200.00                                                 240.00
424492        Analysis of Friedel 1 court filings, deposition transcripts, evidence,
              and trial court transcripts with attention to drafting Statement of
              Undisputed Facts in Support of Motion for Summary Judgment.
5/13/2020     FEE: BC 3.80 Hrs @ 200.00                                                 760.00
426677        Review and revise Discovery Requests to G. Friedel, including
              Request for Production and Request for Interrogatories; conference
              with opposing counsel re: discovery dispute; conference with co-
              counsel re: discovery dispute
5/14/2020     FEE: RV 1.10 Hrs @ 200.00                                                 220.00
424446        Drafted first draft of introduction section of Memorandum of Law in
              Support of Summary Judgment.
5/14/2020     FEE: RV 5.70 Hrs @ 200.00                                                1,140.00
424487        Drafted Memorandum of Law in Support of Summary Judgment
              (Section I - res judicata).
5/14/2020     FEE: BC 3.30 Hrs @ 200.00                                                 660.00
426678        Review and analysis of expert witness report; conference with
              expert re: same; attention to documents provided to expert; draft,
              review and revise discovery requests to K. Friedel; attention to
              additional discovery requirements and pending deadlines; draft,
              review and revise Notice of Taking Deposition for K. Friedel, G.
              Friedel, S. Blakely, and G. Morel.
5/15/2020     FEE: RV 0.40 Hrs @ 200.00                                                  80.00
424448        Drafted Memorandum of Law in Support of Summary Judgment
              (summary judgment standard section).
5/15/2020     FEE: RV 0.30 Hrs @ 200.00                                                  60.00
424451        Drafted Motion for Summary Judgment (conclusion section).
5/15/2020     FEE: RV 3.40 Hrs @ 200.00                                                 680.00
424489        Drafted Memorandum of Law in Support of Summary Judgment
              (section III - statute of limitations).
5/15/2020     FEE: RV 3.10 Hrs @ 200.00                                                 620.00
424490        Drafted Memorandum of Law in Support of Summary Judgment
              (section II - issue preclusion).
5/15/2020     EXP                                                                                    8.70
426602        Fedex/UPS
5/16/2020     FEE: BC 3.10 Hrs @ 200.00                                                 620.00
426685        Draft, review and revise Motion for Summary Judgment - attention
              to modification of same, including statement of facts.
5/18/2020     IN: Sun Communities, Inc.                               00186     6594                          2,240.00    o9
              On behalf of Park Place
424456                                                                                                                   OUT
5/18/2020     FEE: BC 1.20 Hrs @ 200.00                                                 240.00
426683        Review Motion to Compel and Motion for Sanctions; attention to
              amendment of interrogatory response and request to produce.
5/19/2020     FEE: BC 1.30 Hrs @ 200.00                                                 260.00
426684        Attention to additional documents to provide and amendment to
              response to Request for Production.
5/22/2020     FEE: BC 3.90 Hrs @ 200.00                                                 780.00
426690        Draft, review and revise Motion for Attorneys' Fees and Costs
5/25/2020     FEE: RV 0.40 Hrs @ 200.00                                                  80.00
425172        Analysis of Federal Rule of Civil Procedure 54 and case law
              annotations with attention to revising motion for attorney's fees and
              costs.
5/25/2020     FEE: RV 0.90 Hrs @ 200.00                                                 180.00
425174        Analysis of 28 USC 1920 and related case law annotations to
              determine which expenses, such as expert witness fees, are
              recoverable as costs with attention to revising Motion for Attorney's
              Fees and Costs.
5/26/2020     FEE: RV 2.40 Hrs @ 200.00                                                 480.00
425168        Drafted revisions to Motion for Attorney's Fees and Costs to include
              additional argument and authorities gleaned from legal research of
              the issues raised in the motion.
5/26/2020     FEE: RV 0.60 Hrs @ 200.00
425170        Analysis of federal case law regarding recovery of e-discovery
              expenses as costs with attention to revising motion for attorney's
              fees and costs.
5/27/2020     FEE: RV 1.10 Hrs @ 200.00                                                 220.00
425166        Analysis of Federal Rule 11 and related case law annotations with
              attention to drafting motion for sanctions against opposing
              attorneys.
5/28/2020     FEE: RV 1.30 Hrs @ 200.00                                                 260.00
425169        Analysis of Federal Statute 28 USCA 1927 and related case law
              annotations with attention to drafting motion for sanctions against
              opposing attorneys.
5/29/2020     FEE: RV 4.70 Hrs @ 200.00                                                 940.00
425725        Drafted Motion for Sanctions against Friedel's attorneys pursuant
              to Federal Statute 1927.
5/29/2020     FEE: BC 0.80 Hrs @ 200.00                                                 160.00
426697        Attention to amendment of Motion for Attorneys' Fees and Motion
              for Sanctions; review and analysis of case law re: same.


                                                                                                                                                         Page 4
                                                                                   Client Ledger                                                          6/17/2020
                                                                                     Atlas Law
            Case 2:19-cv-14394-RLR Document 48-1 Entered on FLSD Docket 07/16/2020 Page 5 of 5
                                                                 Monday, July 1, 2019 To Wednesday, June 17, 2020
Client
File          Description                                                                                                                                    Resp
Date          Info                                                   Ref      Inv         Fees         Exps   Op Rcpts   Acc   Tr Rcpts    Tr Disbs     Tr Balance
Entry         Explanation
6/2/2020      INV: Billing on Invoice 7499                                        7499
425800        Park Place:
              Fees: 7,360.00
6/15/2020     FEE: RV 1.30 Hrs @ 200.00                                                      260.00
426717        Analysis of Friedel's response to motion for sanctions (18 pages),
              attached exhibit, and research of case law cited with attention to
              drafting a reply brief.
6/15/2020     FEE: RV 0.90 Hrs @ 200.00                                                      180.00
426718        Analysis of Friedel's response to motion for attorney's fees (12
              pages) attached exhibit, and research of case law cited with
              attention with attention to drafting a reply brief.
6/16/2020     FEE: RV 0.70 Hrs @ 200.00                                                      140.00
426725        Drafted first draft of amended Motion for Sanctions to include
              additional submissions set out by Local Rule 7.3.
6/16/2020     FEE: RV 0.70 Hrs @ 200.00                                                      140.00
426729        Research of 11th Circuit case law regarding whether denial of a
              motion for noncompliance with local rules is with or without
              prejudice.
6/16/2020     FEE: RV 0.90 Hrs @ 200.00                                                      180.00
426732        Drafted first draft of Amended Motion for Attorney's Fees and Costs
              to include additional submissions required by Local Rule 7.3.
6/16/2020     FEE: RV 0.40 Hrs @ 200.00                                                       80.00
426733        Research regarding federal and local rules regarding good faith
              conferences and procedures for motions for attorney's fees with
              attention to drafting first draft of replies to Plaintiffs' Responses to
              Motions for Attorney's Fees and Sanctions.
6/17/2020     FEE: RV 3.40 Hrs @ 200.00                                                      680.00
426727        Drafted first draft of Reply to Friedel's Response to Motion for
              Sanctions (6 pages).
6/17/2020     FEE: RV 3.60 Hrs @ 200.00                                                      720.00
426728        Drafted first draft of reply to Friedel's response to motion for
              attorney's fees and costs (7 pages).
6/17/2020     FEE: RV 0.50 Hrs @ 200.00                                                      100.00
426730        Research regarding meaning of "reasonable time" period deadline
              for filing motion for sanctions.
                      ────────────────────────────────────────
                                                     Unbilled                              ────────────────────────────────────────
                                                                                                                  Billed                    ───────────────────────
                                                                                                                                                      Balances
                                   Che         + Recov          + Fees             = Total           Disbs    + Fees     + Other - Receipts         = A/R      Trust
Period                        2,500.00            26.10      15,640.00          18,166.10             0.00 13,080.00        0.00   5,720.00      7,360.00       0.00
End Date                      2,500.00            26.10      15,640.00          18,166.10         6,067.34 68,280.00        0.00 66,987.34       7,360.00       0.00
Report Selections:
  Completed              :   Wednesday, June 17, 2020 3:16 PM
  Requested By           :   Ryan Vatalaro
  Start Date             :   7/1/2019
  End Date               :   6/17/2020
  File                   :   12615-002 - Park Place v. Friedel
  Pmt Type               :   Cash, Che, Drft, Cert, EFT, Chrg, CC, DC, Int, NSF, Err, Ord, Void, Oth
  Entry Type             :   All
  WantFileTypeFlag       :   AllFilesWithNumbers
  WantFilesAr            :   false
  WantFilesTrust         :   false
  WantFilesUnBilled      :   false
  WantFilesRetainer      :   false
  FirmTotalsOnly         :   false
  ExcludeNonBillableWork :   false
  FilterExcludeTAFExempt :   false




                                                                                                                                                             Page 5
